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CLD: USAO 2021R00193
                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF MARYLAND

 UNITED STATES OF AMERICA                      *
                                               * CRIMINAL NO. ELH 21 -cr-169
        v.                                     *
                                               *
 IGOR COOPER ROSENSTEEL,                       * (Identity Theft, 18 U.S.C. § 1028(a)(7);
   a/k/a “Cooper Ross,”                        * Bail Reform Act Violations, 18 U.S.C. §
         “Cooper Rose,”                        * 3147(1))
         “Cooper Kent,”                        *
                                               *
                       Defendant.              *
                                               *
                                           **********

                                        INFORMATION

                                          COUNT ONE
                                         (Identity Theft)

        The Acting United States Attorney for the District of Maryland charges that:

        On or about April 1, 2020 and continuing through on or about July 10, 2020, in the District

of Maryland, the Eastern District of Virginia, and elsewhere, the defendant

                                IGOR COOPER ROSENSTEEL,
                       a/k/a “Cooper Ross,” “Cooper Rose,” “Cooper Kent,”

did knowingly possess, without lawful authority, in or affecting interstate or foreign commerce, a

means of identification of another person, knowing that the means of identification belonged to

another actual person, with the intent to commit, and in connection with, any unlawful activity that

constitutes a violation of Federal law (Access Device Fraud, in violation of 18 U.S.C. § 1029(a)(2)

and Bank Fraud, in violation of 18 U.S.C. § 1344(2)), to wit: ROSENSTEEL possessed and

intended to use without authority or permission the means of identification of another as follows:

(1) a Capital One Mastercard credit card (card number ending in #9398) in the name of L.S.; (2) a

Capital One credit card (card number ending in #1984) in the name of P.L.; (3) a Discover Card

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credit card (card number ending in #7645) in the name of J.S.; (4) a Citibank Visa credit card (card

number ending in #8004) in the name of E.R.; (5) a Capital One credit card (card number ending

in # 8224) in the name of R.R.; (6) a First Financial debit card (account number ending in # 3930)

in the name of C.R.; and (7) a Howard Bank credit card (account number ending in #1835) in the

name of R.R.

18 U.S.C. § 1028(a)(7)




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                                 SPECIAL ALLEGATION
                       (Offense Committed While on Pre-Trial Release)

    1.    IGOR COOPER ROSENSTEEL was on release pursuant to an order dated January 30,

2020, issued by the United States District Court for the District of Maryland (Northern Division),

Case No. ELH-19-0183, and such Order notified Defendant of the potential effect of committing

an offense while on pre-trial release.

    2.     On or about April 1, 2020 and continuing through on or about July 10, 2020, in the

District of Maryland, the Eastern District of Virginia, and elsewhere, the defendant,

                             IGOR COOPER ROSENSTEEL,
                    a/k/a “Cooper Ross,” “Cooper Rose,” “Cooper Kent,”

committed identity theft, in violation of 18 U.S.C. § 1028(a)(7), as alleged in Count One of this

Information, while on pre-trial release pursuant to the January 30, 2020 Order.

18 U.S.C. § 3147(1)



                                                     ___________________________
                                                     Jonathan F. Lenzner
                                                     Acting United States Attorney


                                                     5/18/2021
                                                     __________________________
                                                     Date




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